     Case: 1:21-cv-01280 Document #: 66 Filed: 06/16/21 Page 1 of 2 PageID #:1858



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

KTM AG,                                                   )
                                                          )   Case No. 21-cv-1280
                Plaintiff,                                )
                                                          )
                                                          )    Judge Gary S. Feinerman
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses with prejudice all causes of action in the complaint as to the Defendants identified below and in
Schedule A. No motions are pending relative to these Defendants. Each party shall bear its own
attorney’s fees and costs.
        No.     Defendant
        20      lifefriend
        39      Melife US
        53      movinglife
        101     Siwinparts

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                         Respectfully submitted,
Dated: June 16, 2021                     By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
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                                                  Attorneys for Plaintiff
                                                  KTM AG
    Case: 1:21-cv-01280 Document #: 66 Filed: 06/16/21 Page 2 of 2 PageID #:1859



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on June 16, 2021.



                                                          s/Michael A. Hierl
